     Case 1:21-cv-03949-SCJ Document 95 Filed 11/30/21 Page 1 of 3




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


OBENTO LIMITED, d/b/a/ Chinese
Menu Online; and P & F INC., d/b/a
Happiness Restaurant,                                   CIVIL ACTION FILE

                                                       No. 1:21-CV-03949-SCJ
     Plaintiffs,

v.

QMENU INC.,

     Defendant.




                                           ORDER

        This matter appears before the Court on Plaintiffs’ Consent Motion to File

Amended Complaint and to Extend Deadlines. Doc. No. [94]. 1 On September 24,

2021, this action was transferred from the United States District Court for the

Northern District of Illinois. Doc. No. [67]. Upon transfer of this case, the Court

terminated the pendency of Defendant’s then-pending Motion to Dismiss (Doc.




1 All citations are to the electronic docket unless otherwise noted, and all page numbers
are those imprinted by the Court’s docketing software.
   Case 1:21-cv-03949-SCJ Document 95 Filed 11/30/21 Page 2 of 3




No. [17]) and ordered Defendant to re-file its Motion to Dismiss (Doc. No. [71]).

Defendant re-filed its Motion to Dismiss on October 12, 2021. Doc. No. [77].

Plaintiffs’ Consent Motion to Amend reflects that the Parties have agreed upon

requesting leave for the following: (1) for Plaintiffs to file an Amended

Complaint; (2) for Defendant to have twenty-one (21) days to respond to

Plaintiffs’ Amended Complaint; and (3) for the deadline to file the Joint

Preliminary Report and Discovery Plan to be extended to twenty-one (21) days

from the filing of the Amended Complaint. Id.    at 1–3.

      After due consideration, the Court finds that the Consent Motion is due to

be granted. Because Plaintiffs will be filing an Amended Complaint, the Court

also finds that Defendant’s pending Motion to Dismiss (Doc. No. [77]) is due to

be denied as moot. See Lowery v. Ala. Power Co., 483 F.3d 1184, 1219–20 (11th

Cir. 2007) (“Under . . . federal law, an amended complaint supersedes the initial

complaint and becomes the operative pleading in the case.”); see also Taylor v.

Ala., 275 F. App’x 836, 838 (11th Cir. 2008) (“Subsequently, [p]laintiffs amended

their complaint and [d]efendants’ motion to dismiss became moot.”).

      Accordingly, the Court GRANTS Plaintiffs’ Consent Motion to File

Amended Complaint and to Extend Deadlines (Doc. No. [94]) and DENIES as


                                     2
   Case 1:21-cv-03949-SCJ Document 95 Filed 11/30/21 Page 3 of 3




moot Defendant's pending Motion to Dismiss (Doc. No. [77]). The Court further


RULES as follows: The Court GRANTS Plaintiffs' request for leave to file an


Amended Complaint Plaintiffs must file their Amended Complaint within seven

(7) days of the date of this Order. Defendant shall have hventy-one (21) days

from the filing of the Amended Complaint to respond thereto. Finally/ the Court


ORDERS the Parties to file their Joint Preliminary Report and Discovery Plan

within hventy-one (21) days of the filing of the Amended Complaint.



      IT IS SO ORDERED this 3^)) day of November, 2021.


                                              /J            /
                                         ./^ c. it.
                                     HONORABLE STEV^C JONES
                                     UNITED STATES DISTRICT JUDGE
